DAVID L. KEELAND AND KATHLEEN O. KEELAND, Petitioners v. COMMISSIONER OF INTERNAL REVENUE, RespondentKeeland v. CommissionerDocket No. 7211-74.United States Tax CourtT.C. Memo 1983-329; 1983 Tax Ct. Memo LEXIS 454; 46 T.C.M. (CCH) 398; T.C.M. (RIA) 83329; June 8, 1983.  *454  David L. Keeland and Kathleen O. Keeland, pro se.  Scott N. McCallum and Richard Elliott, for the respondent.  DAWSONMEMORANDUM OPINION DAWSON, Judge: This case was assigned to Special Trial Judge Francis J. Cantrel for the purpose of considering and ruling on respondent's Motion for Judgment on the Pleadings filed herein.  After a review of the record, we agree with and adopt his opinion which is set forth below.  1OPINION OF THE SPECIAL TRIAL JUDGE CANTREL, Special Trial Judge: This case is before the Court on respondent's Motion for Judgment on the Pleadings filed pursuant to Rule 120, Tax Court Rules of Practice and Procedure, 2 on April 19, 1983.  In his notice of deficiency issued to petitioners on May 24, 1974, respondent determined a deficiency in petitioners' Federal income tax and an addition*455  to the tax under section 6653(a) 3 for the taxable year 1972 in the respective amounts of $844.86 and $42.24.  4The adjustments to income as determined by respondent in his deficiency notice are as follows: Unreported tip ("toke") income - (Kathleen)$2,459.18&nbsp;Unreported tip ("toke") income - (David)1,353.24&nbsp;Standard Deduction(104.00)Petitioners filed their petition on August 26, 1974 and respondent filed his answer thereto on October 25, 1974.  Hence, the Pleadings are closed.  Respondent's motion was filed more than 30 days after the pleadings were closed.  See Rules 34, 36, 38, and 120.  Petitioners resided in Reno, Nevada on the date they filed their petition.  They filed a joint 1972 Federal income tax return with the Internal Revenue Service.  In 1972 petitioners were dealers at a gambling casino in Reno, Nevada.  During 1972 petitioners received toke income from that employment in the amount*456  of $3,812.42, none of which was reported on the joint Federal income tax return filed for that year.  5Petitioners' sole contention is that the tokes they received in 1972 were gifts. It is well settled that tokes are not gifts but taxable income which must be included in a taxpayer's gross income.  Olk v. United States,536 F.2d 876"&gt;536 F.2d 876 (9th Cir. 1976); 6Talmadge v. Commissioner,T.C. Memo. 1983-268; Garcia v. Commissioner,T.C. Memo. 1983-264; Williams v. Commissioner,T.C. Memo. 1980-494. Respondent's determinations herein are presumptively correct and the burden is on petitioners to establish that they are incorrect. Welch v. Helvering,290 U.S. 111"&gt;290 U.S. 111 (1933); Avery v. Commissioner,574 F.2d 467"&gt;574 F.2d 467, 468 (9th Cir. 1978); Rule 142(a).  Petitioners have totally failed to show that those determinations are incorrect. Rule*457  120 provides in part-- (a) General.  After the pleadings are closed but within such time as not to delay the trial, any party may move for judgment on the pleadings.  * * * 7On this record, respondent has demonstrated to our satisfaction that the pleadings do not raise a genuine issue of material fact, but rather involve only an issue of law.  Accordingly, for the reasons heretofore expressed herein, respondent's motion will be granted.  In view of respondent's concession An appropriate order and decision will be entered.Footnotes1. Since this is a pre-trial motion and there is no genuine issue of material fact, the Court has concluded that the post-trial procedures of Rule 182, Tax Court Rules of Practice and Procedure↩, are not applicable in these particular circumstances.  This conclusion is based on the authority of the "otherwise provided" language of that rule.2. All rule references are to the Tax Court Rules of Practice and Procedure.  ↩3. All section references are to the Internal Revenue Code of 1954, as amended.  ↩4. Respondent, for purposes of his motion only, concedes the addition to the tax.↩5. The sparse but essential facts herein are based on the allegations of respondent's answer admitting allegations of the petition.↩6. We observe that venue on appeal of this case would lie in the United States Court of Appeals for the Ninth Circuit.↩7. With respect to Rule 120(a), the note following thereafter (60 T.C. 1126"&gt;60 T.C. 1126) states, in part-- "* * * This motion is not to be made until the pleadings are closed.  It is appropriate only where the pleadings do not raise a genuine issue of material fact, but rather involve only issues of law.  The motion is to be granted only if, on the admitted facts, the moving party is entitled to a decision."↩